     8:01-cr-00055-JFB       Doc # 118   Filed: 08/01/05    Page 1 of 1 - Page ID # 102




                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                        )
                                                 )           8:01CR55
                     Plaintiff,                  )
                                                 )
       vs.                                       )             ORDER
                                                 )
JORDAN R. IRVIN,                                 )
                                                 )
                 Defendant.                      )



       The court has been presented a Financial Affidavit (CJA Form 23) signed by the
above-named defendant in support of a request for appointed counsel. After a review of the
Financial Affidavit, I find that the above-named defendant is eligible for appointment of
counsel pursuant to the Criminal Justice Act, 18 U.S.C. §3006A, and the Amended Criminal
Justice Act Plan for the District of Nebraska.

       IT IS ORDERED:

        The Federal Public Defender for the District of Nebraska is appointed to represent the
above named defendant in this matter. In the event that the Federal Public Defender
accepts this appointment, the Federal Public Defender shall forthwith file a written
appearance in this matter. In the event the Federal Public Defender should decline this
appointment for reason of conflict or on the basis of the Criminal Justice Act Plan, the
Federal Public Defender shall forthwith provide the court with a draft appointment order (CJA
Form 20) bearing the name and other identifying information of the CJA Panel attorney
identified in accordance with the Criminal Justice Act Plan for this district.

       IT IS FURTHER ORDERED that counsel's appointment herein is made pursuant to
18 U.S.C. §3006A(f). At the time of the entry of judgment herein, defendant shall file a
current and complete financial statement to aid the court in determining whether any portion
of counsel's fees and expenses should be reimbursed by defendant.

      IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the
Federal Public Defender for the District of Nebraska.

       DATED this 1st day of August, 2005.

                                                 BY THE COURT:



                                                 s/ F.A. Gossett
                                                 United States Magistrate Judge
